846 F.2d 71Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Robert R. HAMILTON, Petitioner-Appellant,v.J.J. CLARK, US Parole Commission, Respondents-Appellees.
    No. 87-7729.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 31, 1988.Decided May 12, 1988.
    
      Robert R. Hamilton, appellant pro se.
      Gurney Wingate Grant, II, Office of United States Attorney, for appellees.
      Before MURNAGHAN, ERVIN, and CHAPMAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that this appeal from its order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2241 is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Hamilton v. Clark, C/A No. 87-310-R (E.D.Va. Oct. 2, 1987).
    
    
      2
      .FIRMED.
    
    